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   8                     IN THE UNITED STATES DISTRICT COURT
   9
                           CENTRAL DISTRICT OF CALIFORNIA

  10
       ORANGE COUNTY COASTKEEPER, a                  Case No.: 8:17-cv-00956-JLS-DFM
  11   California non-profit corporation,
  12
                                                     Hon. Josephine L. Staton
                   Plaintiff,                        Courtroom 10A
  13

  14
             v.
                                                     JUDGMENT
  15   CITY OF SAN JUAN CAPISTRANO, a
  16   California municipal corporation;
       BLENHEIM FACILITY MANAGEMENT, Complaint Filed: June 2, 2017
  17   LLC, a Delaware limited liability company, Trial Date: None
  18
                                Defendants.
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  21         Pursuant to Federal Rule of Civil Procedure 58(a), the Court enters Judgment
  22   consistent with the parties’ concurrently entered Consent Decree.
  23         JUDGMENT IS ENTERED ACCORDINGLY.
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  25         Dated: November 13, 2018
  26                                          __________________________
  27                                          Honorable Josephine L. Staton
                                              United States District Judge
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